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      10
            Attorneys for Plaintiff,
      11    TERESA HICKS
      12
      13                           UNITED STATES DISTRICT COURT
      14                          CENTRAL DISTRICT OF CALIFORNIA
      15
      16    TERESA HICKS, an individual,
      17
                                                        COMPLAINT FOR VIOLATION OF
                     Plaintiff,                         AMERICANS WITH DISABILITIES
      18                                                ACT OF 1990, 42 U.S.C. § 12181, et
                v.
      19                                                seq.; UNRUH CIVIL RIGHTS ACT,
            WAL-MART REAL ESTATE                        CALIFORNIA CIVIL CODE § 51, et
      20    BUSINESS TRUST, an Arkansas                 seq.
      21    business trust; and DOES 1-10,
                                                        DEMAND FOR BENCH TRIAL
      22             Defendants.
      23
      24
      25
      26        Landlords demonize access cases and often deviously foist the overdue
      27       remediation costs onto business owners who lease their land, all the while
      28               protesting in litigation, tying up the Court. The secret is out.
VER


                                               COMPLAINT
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 1           Plaintiff Teresa Hicks (hereinafter referred to as “Plaintiff,”) complains of
 2
      Wal-Mart Real Estate Business Trust, an Arkansas business trust; and Does 1-10
 3
 4    (each, individually a “Defendant,” and collectively “Defendants”), and alleges as

 5    follows:
 6
        I.       INTRODUCTION: THE CROSSROADS OF CIVIL RIGHTS AND
 7
 8                           PRIVATE INFRASTRUCTURE REFORM
 9           The landlord community has demonized ADA lawsuits in order to avoid
10
      compliance with Federal law. Landlords often use heavy handed leases which
11
12    unfairly and secretly foist the responsibility of access law compliance of their
13    property onto the shoulders of the unfortunate business owner/lessor who does not
14
      see the landmine in the lease. Inevitable lawsuits by customers against landlords
15
16    who own the non-compliant property asking for legally required features in the
17    property are then mischaracterized as attacks on the unfortunate business
18
      owner/lessor by dastardly customers. This cynical and unfair tactic has caused
19
20    administrative headaches for the courts which must deal with emotional and
21
      unnecessary litigation and has obscured the truth. In reality, the landlords’ goal is to
22
      to save money by failing to bring the property into compliance and then when
23
24    caught, blame the disabled customer and force the remediation costs upon the
25
      business owner. The landlord is the predator. Here are the facts:
26
             Mass Non-Compliance with the ADA. Many places are dilapidated and need
27
28    remediation. Non-compliance is rampant. Many if not most places are not fully
                                              2
                                      COMPLAINT
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 1    compliant with access laws. Many properties have terribly dilapidated pavement,
 2
      vandalized or missing access signage, incorrectly designed paths and have
 3
 4    restrooms which are unusable for disabled people. These problems are common and

 5    egregious in many places.
 6
             No Government Oversight. The government will not provide inspections or
 7
 8    monitoring of the vast swaths of privately owned land and buildings used by
 9    people. Incorrectly designed features will stay non-compliant. Many features will
10
      also erode with time from long term heavy usage, weather/climate ware, vandalism,
11
12    etc.
13           Private Infrastructure Reform. The remediation and improvement to these
14
      properties is good for business. Improvements which better the land and bring the
15
16    property into compliance with Federal law increase the property value and make the
17    areas more appealing for customers.
18
             Remediation Costs are Tiny Compared to the Wealth of the Landlord.
19
20           The costs of remediation in many instances are a tiny fraction of the income
21    of most landlords, who typically own multiple commercial properties and are in the
22
      landlord business. The landlord that owns one property is indeed a rare creature in
23
24    California. The value of the building, improvements and land for most properties,
25
      coupled with other properties owned, dwarfs the negligible expenses of
26
      remediation, which incidentally should have been made already without the need
27
28    for a lawsuit. The lawsuit is an unfortunate byproduct of the landlord’s original
                                             3
                                     COMPLAINT
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 1    refusal to follow the law. The landlord saved and avoided those costs until the case.
 2
            Need for these cases. Despite the history of access cases there is still mass
 3
 4    non-compliance. The deterrent effect has not been enough to bring about

 5    remediation such that these cases discontinue and are growing. Until the legislative
 6
      intent arises to change the law so that government inspectors appear on the streets
 7
 8    monitoring and enforcing access laws, these cases will be essential and important to
 9    giving access to all and to improving the landscape for all customers.
10
                                 II.    PARTIES
11
12          1.     Teresa Hicks suffers from degenerative disk disease which causes
13    her constant pain and makes it difficult for her to move and walk. She has
14
      tingling and numbness in her feet and legs. She also has limited range of
15
16    movement. She is a disabled person entitled to the protections of the California
17    Unruh Civil Rights Act (UCRA) (see Cal. Civ. Code §§ 51, et seq., 52, et seq.),
18
      the Americans with Disabilities Act (ADA) (see 42 U.S.C. § 12102, et seq.), and
19
20    other statutory laws which protect the rights of “disabled persons.” Plaintiff has
21
      been issued a blue permanent Disabled Person Parking Placard, by the State of
22
      California. Plaintiff is a California resident with physical disabilities.
23
24          2.     Defendant Wal-Mart Real Estate Business Trust, an Arkansas
25
      business trust; owned the property (“Property”) located at 12549 Foothill Blvd.,
26
      Rancho Cucamonga, CA 91739, at all relevant times.
27
28          3.     There is a business establishment on the Property named “Walmart”
                                               4
                                       COMPLAINT
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 1    (hereinafter, “the business”).
 2
            4.     Does 1 through 10 were at all relevant times lessors, lessees, property
 3
 4    owners, subsidiaries, parent companies, employers, employees, agents, corporate

 5    officers, managers, principles, and/or representatives of Defendants. Plaintiff is
 6
      unaware of the true names and capacities of Defendants sued herein as Does 1
 7
 8    through 10, inclusive, and therefore, sues those Defendants by fictitious names.
 9    Plaintiff requests that the Court grant leave to amend this complaint to allege the
10
      true names and capacities when determined by whatever source.
11
12          5.     Defendants, at all relevant times, were relevant to this action; were the
13    owners, franchisees, lessees, general partners, limited partners, agents, employees,
14
      employers, representative partners, subsidiaries, partner companies, and/or joint
15
16    ventures of the remaining Defendants; and were acting within the course and scope
17    of that relationship. Upon information and belief, Plaintiff alleges that each of the
18
      Defendants gave consent to, ratified, and/or authorized the acts alleged of each of
19
20    the remaining Defendants.
21
            6.     Plaintiff visited the public accommodations owned, leased, and/or
22
      operated by Defendants with the intent to purchase and/or use the goods, services,
23
24    facilities, privileges, advantages, and/or accommodations offered by Defendants.
25
                              III.     JURISDICTION & VENUE
26
            7.     This Court has subject matter jurisdiction over this action pursuant to
27
28    28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
                                              5
                                       COMPLAINT
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 1    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
 2
             8.     Pursuant to supplemental jurisdiction, an attendant and related cause of
 3
 4    action, arising from the same nucleus of operative facts and arising out of the same

 5    transactions, is also brought under California’s Unruh Civil Rights Act, which act
 6
      expressly incorporates the ADA.
 7
 8           9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
 9    founded on the fact that the real property which is the subject of this action is
10
      located in this district and the Plaintiff’s cause of action arose in this district.
11
12                                          IV.       FACTS
13           10.    The Property and/or the business owned, leased, and/or operated by
14
      Defendants is a facility which is open to the public and includes a business
15
16    establishment.
17           11.    The Property has been newly constructed, and/or underwent
18
      remodeling, repairs, or alterations since 1992, and Defendants have failed to
19
20    comply with California access standards which applied at the time of each new
21
      construction and/or alteration, or failed to maintain accessible features in operable
22
      working condition.
23
24           12.    Plaintiff visited the Property during the relevant statutory period on
25
      two (2) separate occasions, on March 2021 and September 2021 to patronize the
26
      business on the Property.
27
28           13.    The premises violated applicable California and federal construction-
                                                  6
                                       COMPLAINT
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 1    related accessibility standards, including Title 24 of the California Code of
 2
      Regulations (California Building Standards Code), Part 36 of Title 28 of the Code
 3
 4    of Federal Regulations (28 CFR Part 36), the ADA Standards for Accessible

 5    Design (“ADAS”), and the ADA Accessibility Guidelines for Buildings and
 6
      Facilities (“ADAAG”).
 7
 8          14.    Defendants did not offer persons with disabilities with equivalent
 9    facilities, privileges, and advantages offered by Defendants to other patrons.
10
            15.    Plaintiff encountered barriers, both physical and intangible, that
11
12    interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
13    privileges, and accommodations offered at the Property.
14
            16.    Parking, paths of travel, signage, and other architectural amenities for
15
16    patrons visiting the Property are among the facilities, privileges, and advantages
17    offered by Defendants to patrons of the Property.
18
            17.    However, there are (were) inadequate accessibility features for
19
20    disabled persons at the Property. Defendants’ facilities do not comply with the
21
      ADAS, ADAAG, and/or the California Building Code (“CBC”).
22
            18.    When Plaintiff visited the Property, she experienced multiple access
23
24    barriers, including barriers related to parking, paths of travel, and signage.
25
            Plaintiff encountered the following barriers at Defendants’ facilities:
26
27
28          The property which serves Walmart has many violations of the ADAAG
                                              7
                                      COMPLAINT
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 1          which are barriers to somebody like Plaintiff. There are major problems
 2
            related to damaged and uneven surfaces. Some of the pavement
 3
 4          distresses are from damage (such as cracks in the asphalt), some from

 5          bad design or installation (for example uneven pavement). There are no
 6
            accessible lowered transaction desks. There are problems inside of
 7
 8          Walmart also. The off-street unauthorized parking sign lacks the tow
 9          truck information. There are many other problems as well.
10
11
12          VIOLATION of 1991 ADAS § 4.3.2(1); 2010 ADAS § 206.2.1; 2010 CBC
13          § 1114B.1.2; 2019 CBC § 11B-206.2.1. (Exterior route of travel.) An
14
            accessible route of travel is not provided to all entrances and portions of the
15
16          building, to all entrances of the Property, and/or between the building and a
17          public way. Plaintiff needs a dedicated path of travel, free of obstructions
18
            and vehicles, where (on which) Plaintiff can travel. It is dangerous for
19
20          Plaintiff to navigate without a safe, protected, accessible route of travel; thus,
21          the violation interferes with Plaintiff’s ability to fully access the premises.
22
23
24
            VIOLATION of 1991 ADAS §§ 4.1.2(1), 4.3.2(1); 2010 ADAS §§ 206.1,
25
26          206.2, 206.2.1, 206.2.2, 206.2.4; 2010 CBC § 1114B.1.2; 2010 CBC §

27          1127B.1; 2019 CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-206.2.4.
28
                                              8
                                      COMPLAINT
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 1          (Accessible route of travel.) At least one accessible route shall be provided
 2
            within the site from accessible parking spaces and accessible passenger
 3
 4          loading zones; public streets and sidewalks; and public transportation stops to

 5          the accessible building or facility entrance they serve. At least one accessible
 6
            route shall connect accessible buildings, accessible facilities, accessible
 7
 8          elements, and accessible spaces that are on the same site. The requisite
 9          accessible route of travel is not provided. There is no accessible route of
10
            travel from the designated disabled parking spaces, adjacent access aisle to
11
12          the business/building entrance. Plaintiff needs an accessible route of travel,
13          with level and smooth ground, free of obstructions and vehicles, whereupon
14
            Plaintiff can ambulate. It is dangerous for Plaintiff to travel these areas
15
16          without a safe, protected, accessible route of travel; thus, the violation
17          interferes with Plaintiff’s ability to fully access the premises. The lack of a
18
            safe and accessible route, with a smooth and level surface, denied Plaintiff
19
20          full and equal use or access during each of Plaintiff’s visits by making it
21
            difficult/ harder for Plaintiff to traverse.
22
23
24          VIOLATION of 1991 ADAS § 4.1.2(7); 2010 ADAS § 216.6; 2010 CBC §
25
            1127B.3; 2019 CBC § 11B-216.6. (Directional signage.) There is no
26
            directional signage showing an accessible path of travel to an accessible
27
28          entrance. Plaintiff faces an increased risk of injury if Plaintiff is required to
                                               9
                                       COMPLAINT
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 1           backtrack because Plaintiff cannot find an accessible entrance into the
 2
             business/building. Thus, Plaintiff requires clear signage directing him to any
 3
 4           accessible entrance(s). Accessible entrances should be marked with an

 5           International Symbol of Accessibility.
 6
 7
 8           VIOLATION of 2010 CBC § 1129B.4; 2019 CBC §§ 11B-502.8, 11B-
 9           502.8.2. (Off-street unauthorized parking sign – tow company information.)
10
             The tow away sign(s) (signs stating that “UNAUTHORIZED VEHICLES
11
12           PARKED IN DESIGNATED ACCESSIBLE SPACES … WILL BE
13           TOWED AWAY”) do(es) not state the required information regarding the
14
             tow company address and telephone number. Plaintiff must use the
15
16           designated disabled parking spaces and requires the proper protections of an
17           access aisle and an accessible route of travel to safely access the Property.
18
             Clear signage that explicitly warns of the consequences for improperly
19
20           parking in the designated disabled parking spaces will deter others without
21           disabilities from parking there.
22
23
24           VIOLATION of 1991 ADAS § 4.6.4; 2010 CBC § 1129B.4; 2019 CBC §
25
             11B-502.6.3. (Sign improperly located.) A designated disabled parking
26
             space identification sign shall be visible from each designated disabled
27
28           parking space. Signs shall be permanently posted either immediately
                                                10
                                      COMPLAINT
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 1           adjacent to the parking space, or within the projected parking space width at
 2
             the head end of the parking space. Here it was not. This makes it difficult for
 3
 4           Plaintiff and other patrons to identify or locate the designated disabled

 5           parking space. Plaintiff needs to park in the space that is nearest to the
 6
             business entrance and designated for disabled patrons. Plaintiff needs to be
 7
 8           able to use an accessible parking space, with an access aisle, to safely access
 9           the Property. A properly placed designated disabled parking space
10
             identification sign will (better) deter others without disabilities from parking
11
12           in the space; and will thus decrease the chances that Plaintiff will be blocked
13           from being able to use it.
14
15
16           VIOLATION of 1991 ADAS § 4.3.7; 2010 ADAS § 403.3; 2019 CBC §
17           11B-403.3. (Route/path of travel – cross slopes.) The cross slopes of the
18
             route/path of travel are greater than two percent (2%). It is difficult for
19
20           Plaintiff to travel on surfaces with excess slopes. Plaintiff is at risk of falling
21           when there are surfaces with excess slopes. The presence of excess slopes
22
             denied Plaintiff full and equal use or access during Plaintiff’s visits by
23
24           making it difficult and/or uncomfortable for Plaintiff to traverse the
25
             property/route. The barrier also deterred/deters Plaintiff from visiting the
26
             Property because it would make it difficult and/or uncomfortable for
27
28           Plaintiff to walk/traverse the property/route.
                                               11
                                       COMPLAINT
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 1
 2
             VIOLATION of 1991 ADAS §§ 4.5.2, 4.6.8; 2010 ADAS §§ 302.1, 303.1,
 3
 4           303.2, 303.3, 303.4; 2010 CBC §§ 1120B.2, 1133 B.7.1, 1133B.7.4; 2019

 5           CBC §§ 11B-303.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-303.5. (Abrupt
 6
             changes in level; uneven ground surface.) Floor and ground surfaces shall be
 7
 8           stable, firm, and slip resistant. Changes in level of 1/4 inch high maximum
 9           shall be permitted to be vertical and without edge treatment. Changes in
10
             level between ¼-inch high minimum and ½-inch high maximum shall be
11
12           beveled with a slope not steeper than 1:2. Changes in level greater than 1/2
13           inch high shall be ramped. The route of travel, including from the designated
14
             disabled parking space to the entrance of the building/business, have an
15
16           uneven ground surface with changes in level exceeding one-half inch (1/2")
17           (and no ramps are provided). The route of travel has damaged ground which
18
             is not flush or flat. The ground has pavement distresses. The types of
19
20           pavement distresses which exist include but are not limited to: alligator
21           (fatigue) cracking; joint reflection cracking; raveling; stripping; corrugation
22
             and shoving; and depressions. These pavement distresses are made worse
23
24           and exacerbated by design elements which do not follow the ADAAG.
25
             These areas should be fixed immediately because they pose a tripping and/or
26
             falling hazard. Plaintiff, a cannot safely and fully enjoy the premises when
27
28           such conditions are present. These excess changes in level and uneven
                                              12
                                      COMPLAINT
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 1           ground surfaces pose risks to Plaintiff, including that Plaintiff’s foot, may
 2
             catch on the uneven ground causing Plaintiff to fall. These abrupt changes in
 3
 4           level pose an increased risk of danger to Plaintiff, as Plaintiff is more likely

 5           to trip/fall than someone without disabilities. The excess changes in level
 6
             (i.e., uneven ground) denied Plaintiff full and equal use or access during each
 7
 8           of Plaintiff’s visits by making it difficult/harder and more dangerous for
 9           Plaintiff to traverse the property/route. The excess changes in level (i.e.,
10
             uneven ground) also deterred/deters Plaintiff from visiting the Property
11
12           because it would be difficult/harder and more dangerous for Plaintiff to
13           traverse the property/route.
14
15
16           VIOLATION of 1991 ADAS § 4.29.5; 2010 CBC § 1133B.8.5; 2019 CBC
17           § 11B-247.1.2.5. (Hazardous Vehicular Area.) The path of travel crosses a
18
             vehicular way, but the walking surface is not separated by curbs, railings, or
19
20           a continuous detectable warning. There is no safe way for Plaintiff to travel
21           from the designated disabled parking space to the business/building entrance.
22
             Plaintiff is forced to travel a dangerous route, behind parked cars and in the
23
24           vehicle drive to the business entrance. Plaintiff faces an increased risk of
25
             injury if Plaintiff has to travel in the path of vehicles because it is more
26
             difficult for drivers to see Plaintiff, and Plaintiff cannot quickly move out of
27
28           the way of an oncoming vehicle. Thus, Plaintiff requires a safe path away
                                              13
                                       COMPLAINT
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 1           from other vehicles. The safe, accessible path must be clearly marked so that
 2
             Plaintiff can find it.
 3
 4
 5           VIOLATION of 2010 CBC § 1133B.7.1; 1991 § ADAS § 4.3.8. (Walks/
 6
             sidewalks – changes in level.) The walk leading into the business does not
 7
 8           have a continuous common surface because there are abrupt changes in level
 9           of more than one-half inch (1/2"). Plaintiff cannot fully enjoy the premises
10
             because these conditions pose a risk that, among other things, Plaintiff may
11
12           fall and/or that Plaintiff’s foot may become trapped in an uneven surface.
13
14
             VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.2.; 2010 CBC §§
15
16           1129B.3, 1129B.4; 2019 CBC §§ 11B-502.2, 11B-502.6.4.1, 502.6.4.2.
17           (Faded paint – accessible parking space lines.) The paint used for the
18
             designated disabled parking space is so worn and aged that it cannot (can
19
20           hardly) be seen. This makes it unclear where the actual designated disabled
21           parking space is, and it makes it difficult for Plaintiff to use the space.
22
             Plaintiff needs to be able to use the designated disabled parking space, which
23
24           should be located closest to the entrance and linked to an accessible route of
25
             travel, because it is more difficult for Plaintiff as opposed to non-disabled
26
             persons, to maneuver about the Property. When the paint for the designated
27
28           disabled parking space is worn and aged, there is a greater risk that non-
                                               14
                                       COMPLAINT
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 1           disabled patrons will park in the designated disabled parking space,
 2
             preventing Plaintiff from using it and accessing the business.
 3
 4
 5           VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
 6
             11B-502.2. (Width of designated disabled parking space.) The designated
 7
 8           disabled parking space measured/measures less than nine feet (9') wide,
 9           which made (would make) it difficult for Plaintiff to use the designated
10
             space, and which denied (would deny) plaintiff full and equal use and access
11
12           of the full width of the required space. The paint used for the accessible
13           parking space lines are so faded and worn that it is difficult to identify the
14
             actual dimensions of the space. Plaintiff cannot safely disembark from the
15
16           vehicle when adequate space is not provided. Plaintiff needs to be able to
17           use the designated disabled parking space, which should be located closest to
18
             the entrance and linked to an accessible route of travel, because it is more
19
20           difficult for Plaintiff, as opposed to non-disabled persons to maneuver about
21           the Property.
22
23
24           VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.1; 2010 CBC §
25
             1129B.3; 2019 CBC 11B-502.3.1. (Width of adjacent access aisle.) The
26
             loading/unloading access aisle adjacent to the designated disabled parking
27
28           space is/was less than five feet (5') wide, which denied (would deny) plaintiff
                                              15
                                      COMPLAINT
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 1           full and equal use and access of the full width of the required access aisle.
 2
             Plaintiff needs extra space to be able to safely exit the vehicle. When the
 3
 4           access aisle is too small, Plaintiff has difficulty disembarking from the

 5           vehicle, which poses a greater risk of injury to Plaintiff and can also cause
 6
             humiliation and/or frustration.
 7
 8
 9           VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2016 CBC §§
10
             11B-502.4, 11B-502.3.3; 2010 CBC § 1129B.3.4. (Slope of designated
11
12           disabled parking spaces.) The designated disabled parking spaces have
13           slopes and cross slopes that are greater than two percent (2%). Given
14
             Plaintiff’s mobility issues, Plaintiff needs to be able to traverse on a level
15
16           surface. Sloped ground surfaces pose risks to Plaintiff, including that
17           Plaintiff’s feet may catch on the sloped ground, causing Plaintiff to fall.
18
19
20           VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2010 CBC §
21           1129B.3.3; 2019 CBC § 11B-502.4. (Slopes of adjacent access aisle.) The
22
             loading/unloading access aisle adjacent to the designated disabled parking
23
24           spaces has surface slopes greater than two percent (2%). Given Plaintiff’s
25
             mobility issues, Plaintiff needs to be able to traverse on a level surface.
26
             Sloped ground surfaces pose risks to Plaintiff, including that Plaintiff’s feet
27
28           may catch on the sloped ground, causing Plaintiff to fall.
                                               16
                                       COMPLAINT
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 1
 2
             VIOLATION of 1991 ADAS §§ 4.3.8, 4.5.2; 2010 ADAS §§ 302.1, 303.2,
 3
 4           303.3, 303.4, 403.2; 2010 CBC §§ 1133B.7.1, 1133B.7.4; 2019 CBC §§

 5           11B-302.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-403.2. (Changes in level
 6
             – designated disabled parking space.) There are excess changes in level (of
 7
 8           more than one-half inch) within the parking spaces reserved for disabled
 9           patrons. The asphalt is uneven, and has depressions, dips, and divots. The
10
             ground has sunken and cracked parts. This makes travelling in this area
11
12           difficult. These excess changes in level and uneven ground surfaces pose
13           risks to Plaintiff, including that Plaintiff may fall.
14
15
16           VIOLATION of 2010 CBC § 1122B.5;1991 ADAS § 7.2; 2010 ADAS §
17           904. (Transaction counters.) There is no lowered counter that is free and clear
18
             of clutter for disabled persons whose line of sight is lower. There was no
19
20           lowered, thirty-six (36) inches or less, transaction counter for use by persons
21           who cannot see high surfaces because of their disability. Without a lowered
22
             transaction counter, it is difficult for Plaintiff to use the counter to conduct
23
24           business at the Property.
25
26
             VIOLATION of 2010 CBC § 1115B.6. (Sanitary facilities – door signage.)
27
28           The sanitary facilities are missing door signage indicating an accessible
                                               17
                                         COMPLAINT
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 1           facility.
 2
 3
 4           VIOLATION of 2010 CBC § 1115B.8.1; 1991 ADAS § 4.19.6; 2010

 5           ADAS § 603.3. (Mirror - Restroom.) The mirror in the restroom is mounted
 6
             too high. Mirrors must have a bottom edge of the reflecting surface located a
 7
 8           maximum of forty inches (40") above the floor if above a sink or counter.
 9           Here, the bottom edge of the reflecting surface measures forty-nine inches
10
             (49"), making it difficult for Plaintiff to use the restroom.
11
12
13           VIOLATION of 1991 ADAS § 4.13.11; 2010 ADAS § 404.2.9; 2010 CBC
14
             §1133B.2.5; 2019 CBC § 11B-404.2.9. (Effort to operate restroom door.)
15
16           The restroom’s door opening force exceeds the maximum allowable opening
17           force of five pounds (5 lbs.). Plaintiff requires an accessible restroom that
18
             does not require her to use excessive force to open.
19
20
21           VIOLATION of 2010 CBC § 1118B.1; 2019 CBC § 11B-403.5.1; 1991
22
             ADAS § 4.2.1; 2010 ADAS § 403.5.1. (Lack of clear floor space.) The
23
24           width of the aisles inside the business is too narrow and is obstructed at
25
             multiple locations. The clear width for aisles shall be thirty-six (36") inches
26
             minimum if serving elements on only one side, and forty-four (44") inches
27
28           minimum if serving elements on both sides. Here, in aisles with elements on
                                              18
                                       COMPLAINT
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 1            both sides, the width measures less than forty-four (44") inches. Plaintiff has
 2
              difficulty ambulating when the aisles are not wide enough.
 3
 4
 5            19.    Plaintiff personally encountered the foregoing barriers on (and the
 6
       foregoing barriers existed during) each and every one of her two (2) visits in 2021.
 7
 8            20.    These inaccessible conditions denied Plaintiff full and equal access,
 9     and caused him difficulty, humiliation, and/or frustration.
10
              21.    Defendants had actual knowledge that the foregoing architectural
11
12     barriers prevented access. Their noncompliance with the ADA Standards, ADA
13     Accessibility Guidelines, and/or the California Building Code was intentional.
14
              22.    Plaintiff intends and plans to visit the Property again soon. Currently,
15
16     Plaintiff is reasonably deterred from returning to Defendants’ public
17     accommodation facilities because of the knowledge of barriers to equal access,
18
       relating to Plaintiff’s disabilities, that continue to exist at the Property.
19
20            23.    Defendants have failed to maintain in working and useable condition
21
       those features necessary to provide ready access to persons with disabilities.
22
              24.    Defendants have the financial resources to remove these barriers
23
24     without much expense or difficulty in order to make their Property more accessible
25
       to their mobility impaired customers. The removal of these barriers is readily
26
       achievable. The United States Department of Justice has determined that removal
27
28     of these types of barriers is readily achievable.
                                                19
                                        COMPLAINT
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 1           25.    On information and belief, Plaintiff alleges that Defendants refuse to
 2
       remove these barriers.
 3
 4           26.    On information and belief, Plaintiff alleges that Defendants’ failure to

 5     remove these barriers was/is intentional, because the barriers are logical and
 6
       obvious. During all relevant times, Defendants had authority, control, and
 7
 8     dominion over these conditions; thus, the failure to provide accessible facilities was
 9     not a mishap, but rather an intentional act.
10
             27.    These barriers to access are described herein without prejudice to
11
12     Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
13     experts and/or access agents. See Doran v. 7-ELEVEN, Inc., 524 F.3d 1034 (9th
14
       Cir. 2008) (holding that once a plaintiff encounters one barrier at a site, a plaintiff
15
16     can sue to have all barriers that relate to his or her disability removed, regardless of
17     whether he or she personally encountered them); Thurston v. Midvale Corp., 39
18
       Cal. App. 5th 634 (2019).
19
20                  VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT
21
                                     (Cal. Civ. Code §§ 51-53)
22
                                      (Against All Defendants)
23
24           28.    Plaintiff repleads and incorporates by reference, as though fully set
25
       forth herein, the allegations contained in all prior paragraphs of this complaint.
26
             29.    California Civil Code § 51 states, in part: “All persons within the
27
28     jurisdictions of this state are entitled to the full and equal accommodations,
                                               20
                                        COMPLAINT
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 1     advantages, facilities, privileges, or services in all business establishments of every
 2
       kind whatsoever.”
 3
 4            30.    California Civil Code § 51 also states, in part: “No business

 5     establishment of any kind whatsoever shall discriminate against any person in this
 6
       state because of the disability of the person.”
 7
 8            31.    California Civil Code § 51(f) specifically incorporates, by reference,
 9     an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
10
              32.    The UCRA also provides that a violation of the ADA, or California
11
12     state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
13     see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
14
       1994).
15
16            33.    Defendants’ above-mentioned acts and omissions have violated the
17     UCRA by denying Plaintiff his rights to full and equal use of the accommodations,
18
       advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s
19
20     disability.
21
              34.    Defendants’ above-mentioned acts and omissions have also violated
22
       the UCRA by denying Plaintiff his rights to equal access pursuant to the ADA; and,
23
24     thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
25
              35.    Because Defendants’ violation of the UCRA resulted in difficulty,
26
       discomfort, and/or embarrassment for Plaintiff, Defendants are each also
27
28     responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
                                               21
                                        COMPLAINT
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 1           36.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
 2
       He seeks actual damages, and statutory minimum damages of four thousand dollars
 3
 4     ($4,000) for each offense.

 5                                    PRAYER FOR RELIEF
 6
             WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
 7
 8           1. For injunctive relief compelling Defendants to comply with the Unruh
 9                 Civil Rights Act. Note: Plaintiff is not invoking section 55 of the
10
                   California Civil Code and is not seeking injunctive relief under the
11
12                 Disabled Persons Act.
13           2. Damages under the Unruh Civil Rights Act, which provides for actual
14
                   damages and statutory minimum damages of $4,000 per each offense.
15
16           3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
17                 to Cal. Civ. Code § 52.
18
                                                 DEMAND
19
20           Plaintiff demands a bench trial on all issues so triable.
21
22     Dated: April 11, 2022               THE LAW OFFICE OF HAKIMI & SHAHRIARI
23
                                           By:    /s/ Peter Shahriari, Esq.
24
                                                  PETER SHAHRIARI, ESQ.
25                                                Attorney for Plaintiff Teresa Hicks
26
27
28
                                                 22
                                        COMPLAINT
